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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
              v.                          :         Crim. No. 17-232 (EGS)
                                          :
MICHAEL T. FLYNN,                         :
                                          :
                                          :         Sentencing: December 18, 2018
                            Defendant.    :


            GOVERNMENT’S MOTION FOR DOWNWARD DEPARTURE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves for a downward departure pursuant to Section 5K1.1 of the United States

Sentencing Guidelines to reflect the defendant’s substantial assistance to the government. In

support of this motion, the government has contemporaneously filed, under partial seal, an

Addendum to the Government’s Memorandum in Aid of Sentencing. For the




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reasons stated therein, the Court should grant the government’s motion for a downward

departure.


                                        Respectfully submitted,

                                        ROBERT S. MUELLER, III
                                        Special Counsel


                                  By:            /s/
                                        Brandon L. Van Grack
                                        Zainab N. Ahmad
                                        Senior Assistant Special Counsels
                                        Special Counsel’s Office
                                        U.S. Department of Justice
                                        950 Pennsylvania Avenue NW
                                        Washington, D.C. 20530
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                               CERTIFICATE OF SERVICE

       I, Brandon L. Van Grack, certify that I caused to be served a copy of the foregoing by

electronic means on counsel of record for defendant Michael T. Flynn on December 4, 2018.




                                                              /s/
                                                     Brandon L. Van Grack
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                                                     Attorney for the United States of America




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